Case 3:17-cv-01362 Document 1504-7 Filed 01/12/22 Page 1 of 32 PagelD #: 68479

 

a, U.S. Departn. ut of Justice
Bes Drug Enforcement Administration
QS: Office of Training
P.O. Box 1475

Quantico, Virginia 22134-1475

 

SEP 25 2003

Mr. Steve Mays

Manager, Regulatory Affairs
Amerisource Bergen

P.O. Box 959

Valley Forge, Pennsylvania 19482

Dear Mr. Mays:

This letter is to confirm previous arrangements made by the Drug Enforcement Administration
(DEA) Office of Training Class Coordinator Dorothy Coursey for a tour of the Bergen Brunswig
facility in Richmond, Virginia, by our Diversion Investigator Trainees. | appreciate your
cooperation, and I am certain that the visit to your distribution plant will be a valuable learning
experience for our students.

The visit to Bergen Brunswig is scheduled for Friday, October 31, 2003. Approximately 30
employees, participating in the tour, will be arriving by bus at approximately 2 p.m. and we will
depart your facility at approximately 4 p.m. for the return trip to Quantico, Virginia.

Again, thank you for your cooperation and support of the DEA Office of Training. Ms. Coursey
will be in contact with you regarding further arrangements. In the meantime, if you should have any
questions, please do not hesitate to contact her at (703) 632-5180.

Sincerely,
John R. McCarty
Special Agent in Charge

AM-WV-00782

CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER ABDCMDLO00315795
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Case 3:17-cv-01362 Document 1504-7 Filed 01/12/22 Page 2 of 32 PagelD #: 68480

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AM-WV-00782.00012
Case 3:17-cv-01362 Document 1504-7 Filed 01/12/22 Page 13 of 32 PagelD #: 68491

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Case 3:17-cv-01362 Document 1504-7 Filed 01/12/22 Page 18 of 32 PagelD #: 68496

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Case 3:17-cv-01362 Document 1504-7 Filed 01/12/22 Page 29 of 32 PagelD #: 68507

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CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER
Case 3:17-cv-01362 Document 1504-7 Filed 01/12/22 Page 30 of 32 PagelD #: 68508

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CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

AM-WV-00782.00030
Case 3:17-cv-01362 Document 1504-7 Filed 01/12/22 Page 31 of 32 PagelD #: 68509

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CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

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Case 3:17-cv-01362 Document 1504-7 Filed 01/12/22 Page 32 of 32 PagelD #: 68510

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> AmerisourceBergen Corporation

> Registration

> Security
> Records and Reports

> Order Forms
> Listed Chemicals

Questions ?

> Industry

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AM-WV-00782.00032
